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                                                                                           BWW#: MI-321173


                              UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division

IN RE:                                                               Case No. 17-12857-BFK
CYNTHIA MICHELLE MROZ-LARSEN
aka CINDY MROZ-LARSEN                                                Chapter 13
aka CINDY LARSEN
       Debtor
_______________________________
SETERUS, INC. AS THE AUTHORIZED
SUBSERVICER FOR FEDERAL NATIONAL
MORTGAGE ASSOCIATION ("FANNIE MAE"),
CREDITOR C/O SETERUS, INC.
       Movant
v.
CYNTHIA MICHELLE MROZ-LARSEN
aka CINDY MROZ-LARSEN
aka CINDY LARSEN
       Debtor/Respondent
and
MICHAEL A. LARSEN
       Co-Debtor/Co-Respondent
and
THOMAS P. GORMAN
       Trustee/Respondent

               ORDER GRANTING RELIEF FROM STAY AND CO-DEBTOR STAY

      Upon consideration of the motion of Seterus, Inc. as the authorized subservicer for Federal
National Mortgage Association ("Fannie Mae"), creditor c/o Seterus, Inc. to modify the automatic stay;
it is

       ORDERED that the automatic stay imposed by 11 U.S.C §362 is modified to permit the movant
to enforce the lien of its deed of trust as it pertains to the real property located at 2740 Marlington Rd,
Waterford, MI 48329 and is more particularly described as follows:




which relief shall extend to the purchaser at the foreclosure sale to allow the purchaser to take such
action under state law, as may be necessary, to obtain possession of the property.
Lauren French, VSB# 85478
8100 Three Chopt Rd.
Suite 240
Richmond, VA 23229
(804) 282-0463(Phone)
Attorney for the Movant
  Case 17-12857-BFK       Doc 42    Filed 02/27/18 Entered 02/27/18 16:51:40         Desc Main
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       IT IS FURTHER ORDERED that relief is granted as to Michael A. Larsen, the co-debtor(s),
from the automatic stay imposed by Section 1301(a) to the same extent and on the same terms and
conditions as granted as to the debtor.

        DONE at Alexandria, Virginia, this ______ day of _________________, 20___.


                       Feb 26 2018                  /s/ Brian F. Kenney
                                                    _________________________________
                                                    Bankruptcy Judge
                                                    U.S. Bankruptcy Court
                                                                       2/27/2018
                                                    Entered on Docket: _________________

WE ASK FOR THIS:

_/s/ Lauren French_______
Lauren French, VSB# 85478
BWW Law Group, LLC
8100 Three Chopt Rd.
Suite 240
Richmond, VA 23229
(804) 282-0463 (phone)
(804) 282-0541 (facsimile)
Counsel for the Movant

SEEN AND AGREED:

_/s/ Jeremy Calvin Huagn___
Jeremy Calvin Huang, Esq.
10615 Judicial Dr.
Suite 102
Fairfax, VA 22030
Counsel for the Debtor

SEEN:

__/s/ Thomas P. Gorman___
Thomas P. Gorman, Trustee
300 N. Washington St Ste 400
Alexandria, VA 22314
Chapter 13 Trustee
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Copy to:

BWW Law Group, LLC
8100 Three Chopt Rd.
Suite 240
Richmond, VA 23229

Thomas P. Gorman, Trustee
300 N. Washington St Ste 400
Alexandria, VA 22314

Jeremy Calvin Huang, Esq.
10615 Judicial Dr.
Suite 102
Fairfax, VA 22030

Copy mailed to:

Cynthia Michelle Mroz-Larsen
aka Cindy Mroz-Larsen
aka Cindy Larsen
218 Cedar Lane SE, Apt 55
Vienna, VA 22180

Michael A. Larsen
2740 Marlington Rd
Waterford, MI 48329

Cynthia Michelle Mroz-Larsen
aka Cindy Mroz-Larsen
aka Cindy Larsen
2740 Marlington Rd
Waterford, MI 48329


                                            CERTIFICATION

       The undersigned certifies that:

       1.    The foregoing Order Granting Relief from Stay is identical to the form order required by
Standing Order No. 10-2 and that no modifications, additions, or deletions have been made; and

       2.      The foregoing Order Granting Relief from Stay has been endorsed by or on behalf of all
necessary parties and counsel herein, in accordance with Local Rule 9022-1.

                                                    _/s/ Lauren French_______
                                                    Lauren French
